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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SECURITIES AND EXCHANGE                         §
COMMISSION,                                     §
                                                §
       Plaintiff,                               §
                                                §
       vs.                                      §
                                                §         CIVIL ACTION NO. 4:22-CV-03359
MAURICIO CHAVEZ, GIORGIO                        §
BENVENUTO and CryptoFX, LLC,                    §         JUDGE ANDREW S. HANEN
                                                §
       Defendants.                              §
                                                §
CBT Group, LLC,                                 §
                                                §
       Relief Defendant.                        §

                     ORDER AUTHORIZING PAYMENT OF RECEIVER’S
                     SECOND CERTIFIED INTERIM FEE APPLICATION

       On June 16, 2023, John Lewis, Jr., the Court-appointed Receiver for Mauricio Chavez

(“Chavez”), Giorgio Benvenuto (“Benvenuto”), CryptoFX, LLC (“CryptoFX”), and CBT Group,

LLC (“CBT”), filed an Application Authorizing Payment of Receiver’s Second Certified Interim

Fee Application (“SCIFA”), which seeks approval of the fees incurred by the Receiver and the

Receiver’s Retained Professionals from January 1, 2023 through March 31, 2023 (the “Application

Period”).

       Pursuant to the Receivership Order, paragraph 58, the Receiver served a copy of the

proposed SCIFA, together with all exhibits and billing information to counsel for the SEC.

Receiver and counsel for the SEC have conferred regarding the Receiver’s SCIFA, its compliance

with the SEC’s Billing Guidelines and this Court’s Receivership Order, and the reasonableness of

the costs and expenses incurred in the ordinary course of the administration and operation of the

Receivership. The SEC does not oppose the Receiver’s Application. The Court finds and
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determines that good cause exists to approve the Receiver’s Second Certified Interim Fee

Application. Accordingly, the Court finds and determines as follows:

        (a)     The Receiver’s Second Certified Interim Fee Application should be and hereby is

granted; it is further ordered that

        (b)     That the Receiver be conditionally awarded fees incurred during the Second Interim

Fee Application in the amount of $46,672.50; it is further ordered that

        (c)     That the Receiver’s Retained Professionals be awarded fees incurred during the

Second Interim Fee Application as follows: Shook Hardy & Bacon, LLC for $323,534.50; Pugh

Accardo, LLC $1,079.50; and Hays Financial for $102,809.40; it is further ordered that

        (d)     That the out-of-pocket costs and expenses incurred by the Receiver in the ordinary

course of the administration and operation of the Receivership, as set out more fully in this SCIFA

in the aggregate amount of $23,623.19, are reasonable and necessary, and that they be approved

for immediate reimbursement by the Receiver.



        IT IS SO ORDERED this ____ day of _____, 2023.




                                                     JUDGE ANDREW S. HANEN
                                                     UNITED STATES DISTRICT JUDGE




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